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 1                                                                                          UNASSIGNED

 2                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 3                                      SEATTLE DIVISION

 4     SECURITIES AND EXCHANGE COMMISSION,

 5                              Plaintiff,
       v.
                                                                   Civil Action No. 2:22-cv-1009
 6
       ISHAN WAHI, NIKHIL WAHI, and SAMEER
                                                                   PLAINTIFF SECURITIES AND
 7     RAMANI,
                                                                   EXCHANGE COMMISSION’S
                                                                   NOTICE OF PENDING ACTION
 8                              Defendants.

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10           Pursuant to Local Rule 3(h), Plaintiff U.S. Securities and Exchange Commission

11   (“SEC”) hereby notifies the Court of the pendency of another action in the United States

12   District Court for the Southern District of New York. In that action, United States v. Ishan

13   Wahi, Nikhil Wahi, and Sameer Ramani, Case No. 22-CR-392, defendants Ishan Wahi, Nikhil

14   and Ramani are charged with violations of 18 U.S.C. §§ 2, 1343, and 1349 for allegedly

15   engaging in a conspiracy to commit wire fraud.

16           Transfer should not be effected pursuant to 28 U.S.C. § 1407 since the other pending

17   action is criminal and since defendants Ishan Wahi and Nikhil Wahi reside in this district.

18           It is possible that coordination between the actions might avoid conflicts, conserve

19   resources and promote an efficient determination of the action.

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     Notice of Pending Action                                          Securities and Exchange Commission
     2:22-cv-1009                                                                         100 F Street, N.E.
                                                                                    Washington, D.C. 20549
                 Case 2:22-cv-01009-TL Document 3 Filed 07/21/22 Page 2 of 2




 1   Dated: July 21, 2022                    Respectfully submitted,

 2                                           By:

 3                                           /s/ Peter Lallas
                                             Daniel Maher
 4                                           Peter Lallas
                                             (Conditionally Admitted Under LR 83.1)
 5                                           Securities and Exchange Commission
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                                             Washington, DC 20549
 6                                           (202) 551-4737 (Maher)
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 7                                           maherd@sec.gov
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     Notice of Pending Action                 2              Securities and Exchange Commission
     2:22-cv-1009                                                               100 F Street, N.E.
                                                                          Washington, D.C. 20549
